Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 1 of 15 PageID #: 7
Court:         Case
               Circuit 1:25-cv-00356        Document
                                              County: 1-1          Filed  05/30/25 Case
                                                                    32 - Monroe      Page  2 of 15CC-32-2025-C-21
                                                                                        Number:     PageID #: 8
Judge:         Amy L. Mann                       Created Date:      4/29/2025      Status:            Open
Case Type:     Civil                             Case Sub-Type:     Other          Security Level:    Public
Style:         Michael Barnhill v. Mountain Valley Pipeline, LLC

        Entered Date           Event       Ref. Code                      Description
 1 4/29/2025 11:45:36 AM E-Filed                     Complaint
 2 4/29/2025 11:45:36 AM Judge Assigned    J-45008 Amy L. Mann
 3 4/29/2025 11:45:36 AM Party Added       P-001     Michael Barnhill
 4 4/29/2025 11:45:36 AM Party Added       D-001     Mountain Valley Pipeline, LLC
 5 4/29/2025 11:45:36 AM Party Added       D-002     Equitrans Midstream Corporation
 6 4/29/2025 11:45:36 AM Party Added       D-003     EQT Corporation
 7 4/29/2025 11:45:36 AM Attorney Listed   P-001     A-12014 - John-Mark Atkinson
 8 4/29/2025 11:45:36 AM Service Requested D-001     Filer - Secretary of State
 9 4/29/2025 11:45:36 AM Service Requested D-002     Filer - Secretary of State
10 4/29/2025 11:45:36 AM Service Requested D-003     Filer - Secretary of State
                                                     Supporting Documents - Receipt of Summons from
11 5/9/2025 3:02:13 PM   E-Docketed
                                                     Secretary of State
                                                     Supporting Documents - Receipt of Summons from
12 5/9/2025 3:04:31 PM   E-Docketed
                                                     Secretary of State
                                                     Supporting Documents - Receipt of Summons from
13 5/12/2025 2:43:33 PM E-Docketed
                                                     Secretary of State
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 3 of 15 PageID #: 9
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 4 of 15 PageID #: 10
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 5 of 15 PageID #: 11
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 6 of 15 PageID #: 12
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 7 of 15 PageID #: 13
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 8 of 15 PageID #: 14
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 9 of 15 PageID #: 15
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 10 of 15 PageID #: 16
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 11 of 15 PageID #: 17
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 12 of 15 PageID #: 18
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 13 of 15 PageID #: 19
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 14 of 15 PageID #: 20
Case 1:25-cv-00356   Document 1-1   Filed 05/30/25   Page 15 of 15 PageID #: 21
